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                         EXHIBIT B
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                                             #:955

                                                                      9461 Charleville Blvd #612
                                                                         Beverly Hills, CA 90212




    Dear Honorable Judge,


    I hope this letter finds you well.

    I am writing to you in response to your concerns regarding the potential risks
    associated with allowing a high-profile individual to have the freedom of movement while
    under bond.

    As an established security agency with experience in residential security, I would like
    to outline the processes and procedures that can be implemented to ensure
    compliance with any court-ordered restrictions for this individual.

    To begin, it is paramount to establish a protocol that directly addresses the court's
    restrictions. Our company can provide a dedicated security team to monitor and
    enforce these limitations effectively.

    Here are some recommended procedures we would implement:

    1.    Clear Protocol Development: Before assuming the responsibility of security, we
    will work closely with relevant legal authorities, including your court, to understand the
    specific restrictions imposed. This will include a comprehensive review of any
    limitations on movement, communication, or interactions.

    2.    Access Control: The security team will manage access to the residence, ensuring
    that only authorized individuals are permitted entry. We can implement visitor logs, ID
    verification processes, and restricted access within the property to maintain a
    controlled environment.

    3.   Surveillance Measures: Security cameras and monitoring systems within and
    around the property will allow for real-time oversight. Recorded footage can serve as
    documentation to support compliance with the court’s directives.

    4.   Regular Reporting: Our security personnel would provide regular reports detailing
    the activities of the individual, including any suspicious behaviors that may indicate a
    potential violation of court-ordered restrictions. This reporting can be tailored to your
    requirements, ensuring timely communication with the court or designated
    authorities.
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                                                                     9461 Charleville Blvd #612
                                                                        Beverly Hills, CA 90212




    5.    Incident Response Protocol: In the event that the individual attempts to violate
    any restrictions, our team is trained to follow a specific response protocol. This would
    include documenting the incident thoroughly, notifying law enforcement if necessary,
    and immediately informing the court or authority of any violations observed.




    In conclusion, our company is prepared to implement these recommendations and
    establish a cooperative relationship with the court to ensure that the individual
    adheres strictly to all imposed restrictions.

    Our ultimate goal is to provide a safe and secure environment for the individual and his
    family while safeguarding the rights and conditions established by the court to remain
    compliant.


    If you have any further questions or would like to discuss specific aspects of our
    approach to residential security, please feel free to reach out.




    Sincerely,




    Michael
    President
    Arsec Group
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